389 f -CV- - OCUm€n |€

FOR TI~IE NORTHERN DISTRICT ()F T
FORT WORTH DIVISION

IN THE UNITED STATES DISTRICT C(ITURT

 

COTY MITCHELL AND §
CLYDELYNN MITCHELL §

~ §

iam Plaintiffs, §
19 v. §
` §
CY: STATE FARM LLOYDS §
CD §
Defendant. §

age 0 age

 

XAS

 

JOINT NOTICE OF SETTLEMENT ‘

TO TH_E HONORABLE JUDGE OF SAID C()URT:

U.S. DISTRICT COURT

NORTHERN DIS'I'RICT OFTEXAS

FILED

 

 

JUL 24 20|5

 

By

 

CLERK, U.S. DES§§ICT COURT

Deputy

CIVIL ACTION NO. 4:15-CV-00181-A

JURY DEMAND

The Parties wish to announce they reached an agreement of settlement in this matter. The

Parties anticipate they will have the settlement finalized within 60 days from today, upon which

time the parties will tile the appropriate dismissal documents with the Court. Accordingly, the

parties ask the action, including any upcoming deadlines, be abated.

Respectfully submitted,

S IGHTs & WORRICH
GMW\QTM/i/t/\»

 

Jac Ho 1 cker

State Bar 0.: 24085383
3838 Oak Lawn Avenue, Suite 1000

Dallas, Texas 75219
Phone: 210.495.6789
Fax: 210.495.6790

Email: jacey@speightsiinn.com
COUNSEL FOR PLAINTIFF

and

JOINT NOTICE OF SE'I"I`LEMENT - Page 1
2245196\/1
10578.124

 

 

- V- - le age 0 age|D 343

THo s N E,CoUSlNS&lRoNS,LLP

 

/l::c?h ¢F.iho pson, Attomey-ln-Charge
Stat BarNo.: 2 029862

CourtneyC. K er

State Bar No.: 4078771

Plaza of the Americas, 700 N. Pearl Street,
Twenty-Fifth Floor

Dallas, Texas 75201-2832

Telephone: (214) 871-8200

Facsimile: (214) 871-8209

E-mail: rthompsoMthomnsoneoe.com
E-mail: ckasper@thomnsoncoe.com

COUNSEL FOR DEFENDANT
STATE FARM LLOYI)S

CERTIFICATE OF SERVICE

This is to certify that on the Z¥ day of July 2015, a true and correct copy of the
foregoing has been forwarded to counsel 0 record in accordance with Fed. R Civ. P. 5(b)(2).

Via: Facsimile

lacey I-Iorneoker

SPElGHTs & WORRicH

3838 Oak Lawn Avenue, Suite 1000
Dallas, Texas 75219

Phone: 210.495.6789

Fax: 210.495.6790
Email: jacey@speightsfmn.com
Attorneys for Plaintij.”s

Rhihda]. Tho son

JOINT NOTICE OF SETTLEMENT - Page 2
2245196v1
10578.124

 

